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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MARYLAND
                          NORTHERN DIVISION

BRITTNEY GOBBLE PHOTOGRAPHY,
LLC,
                                    Case No. 1:18-cv-03403-SAG (Lead Case)
          Plaintiff,
                                    Case No. 1:18-cv-03384-SAG
     v.                             Case No. 1:19-cv-00559-SAG
                                    Case No. 1:19-cv-00606-SAG
SINCLAIR BROADCAST GROUP, INC.,
et al.,

          Defendants/Third-Party
          Plaintiffs,

     v.

USA ENTERTAINMENT NEWS, INC.
d/b/a “WENN” and “WORLD
ENTERTAINMENT NEWS NETWORK”,

          Third-Party Defendant.



  DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF
   BRITTNEY GOBBLE PHOTOGRAPHY, LLC’S MOTION TO EXCLUDE
         DEFENDANTS’ PROPOSED EXPERT, GARY ELSNER



                                      Scott H. Marder (Bar No. 28789)
                                      Margaret L. Argent (Bar No. 06132)
                                      THOMAS & LIBOWITZ, P.A.
                                      25 S. Charles Street, Suite 2015
                                      Baltimore, Maryland 21201
                                      Tel: (410) 752-2468
                                      Fax: (410) 752-0979
                                      SHMarder@tandllaw.com
                                      MArgent@tandllaw.com

                                      Attorneys for Defendant Sinclair Broadcast
                                      Group, Inc., et al.
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       Defendants, Sinclair Broadcast Group, Inc., et al. (collectively “Sinclair”) 1 file their

Memorandum of Law in Opposition to Plaintiff Brittney Gobble Photography, LLC’s Motion to

Exclude Defendants’ Proposed Expert, Gary Elsner (the “Motion”) and state as follows:

                                    I.      INTRODUCTION

       In this case, Plaintiff seeks actual damages of approximately $18,000,000-$31,000,000

for copyright infringement when Defendants allegedly displayed photographs of cats, even

though the photographer never earned more than $306.03 for her photography during her lifetime

and licensed these very same photographs countless times to others for free. Plaintiff filed the

Motion after Defendants’ expert, Gary Elsner - a veteran in the photography licensing industry

with nearly 60 years of experience - identified the many flaws in Plaintiff’s expert’s

methodology and opined that Plaintiff’s alleged damages were minuscule compared to the

amount sought by Plaintiff.

       Plaintiff’s Motion should be denied because it is based on a misunderstanding of both

applicable law and the facts of this case. First, Plaintiff misapprehends the liberal standard for

establishing the qualifications of an expert under Daubert. Second, the photographs at issue in

this case are stock photographs. Third, while Plaintiff challenges Mr. Elsner because of his

experience with stock photographs, Plaintiff’s expert, Jeffrey Sedlik, used stock photographs as

benchmarks for his damages calculations. Fourth, Plaintiff is simply incorrect that Mr. Elsner

lacks experience outside of stock photography. Lastly, Plaintiff’s Motion relies on the hearsay

deposition testimony of Mr. Elsner in a case from New Hampshire to which Defendants were not




1
 Defendants include Sinclair Broadcast Group, Inc., a publicly traded media corporation, and
multiple subsidiary entities that own, operate or provide services to local stations.
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a party. Thus, the Motion lacks any evidentiary support. For these reasons, this Court should

deny Plaintiff’s Motion.

                                     II.     BACKGROUND

   A. Parties and claims.

       Plaintiff, Brittney Gobble Photography, LLC, allegedly owns copyrights in photographs

of Lykoi cats (a new breed of domestic cat) created by Ms. Gobble. Ms. Gobble assigned the

copyrights to Plaintiff in 2016 after creating the photographs at issue in this case and shortly

before initiating suit to enforce related copyrights. See Exhibit 1, Copyright Assignment.

Plaintiff alleges that Sinclair improperly used 50 of the registered photographs and one

uncopyrighted photograph (the “Photographs”) commencing in November 2015. See generally

Second Am. Compl. (ECF 134) (“Compl.”). Specifically, Plaintiff alleges that Sinclair posted the

Photographs to television and radio station websites without Ms. Gobble’s permission. Sinclair,

however, obtained the Photographs through lawful means, including via a contract between

Sinclair and a photo/news syndication company, USA Entertainment News, Inc. (“WENN”), and

a separate license granted by Ms. Gobble. See id. at ¶ 62. Plaintiff seeks damages for copyright

infringement and violation of the Digital Millennium Copyright Act, 17 U.S.C. § 1202 through

actual damages, disgorgement of profits from Sinclair and, alternatively, statutory damages.

   B. Licensing history of the Photographs.

       Beginning in 2015, Ms. Gobble allowed a stock photography company named REX

Features (“REX”) to license some of her photographs of Lykoi cats, including the Photographs.

Exhibit 2, Pl.’s 30(b)(6) Dep. at 37:22-38:12, 81:19-82:8. During the approximately 15 months

that Ms. Gobble had a relationship with REX, Ms. Gobble earned $306.03 in fees paid to her by

REX. Exhibit 3, Riley Rebuttal Report at p.9. Ms. Gobble ended her relationship with REX in

2017 because she believed REX breached their agreement by allowing her images to be used

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without credit. Exhibit 2, Pl.’s 30(b)(6) Dep. at 48:11-49:6. Ms. Gobble does not earn a living as

a professional photographer. In fact, the only money that she has ever earned from licensing her

photography was the $306.03 paid to her by REX. Id. at 39:19-40:11. In addition to allowing

REX to license her photographs, Ms. Gobble also licensed the Photographs at no charge to

various news organizations, other websites and bloggers. Id. at 123:4-18.

   C. Plaintiff’s expert based his damages calculations on the value of stock photographs.


       Plaintiff retained Jeffrey Sedlik to provide opinion testimony on Plaintiff’s damages.

Sedlik employed the following methodology to calculate Plaintiff’s damages:

       i) In 2017, Sedlik selected three stock photographs of cats (not Lykoi kittens) that he

           found on stock photography websites (First Light, Getty Images, and Image Source).

           Exhibit 4, Sedlik Rep., Exhibit H. Sedlik asserts that these stock photographs are

           “comparative” to the Photographs. Exhibit 5, Sedlik Rep. at p.34.

       ii) Next, using the stock photography websites’ online calculators, Sedlik entered

           various assumptions regarding the size of the images, the number of viewers, the type

           of license, etc. to obtain three quotes for one-year licenses that ranged between

           $227.37 and $1,050.00 that he used as benchmarks (the “Benchmarks”) in his

           analysis. Exhibit 6, Sedlik Report, Exhibit J.

       iii) Sedlik then averaged the quotes for each of the three Benchmarks ($649.12), see id.,

           and adjusted the average downward to reflect his opinion that license fees in 2015

           were 9.15% lower than in 2017. See Exhibit 7, Sedlik Rep., Exhibit I. This

           calculation produced Sedlik’s “Average Market Rate, Per Year (2015)” of $589.73.

           Exhibit 8, Sedlik Rep., Exhibit J.




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       iv) Sedlik determined that there were over 7,000 instances of use of the Photographs by

           Defendants (“Usages”) and that the Usages required 2,729 separate Licenses. Exhibit

           9, Sedlik Rep., Exhibit L. Sedlik explained that “I took each of the stations and priced

           them as if they had each separately licensed the images.” Exhibit 10, Sedlik Dep. at

           244:18-20.

       v) Because Sedlik’s Benchmarks were for one-year licenses (as opposed to multi-year or

           unlimited licenses), Sedlik then multiplied the “Average Market Rate, Per Year

           (2015)” figure by the number of years of alleged infringing use (“License Units”) for

           each of the alleged 2,729 Licenses to determine the “Base Actual Damages.” Totaling

           these calculations, Sedlik concluded that the Base Actual Damages were

           $6,212,215.82. Exhibit 9, Sedlik Rep., Exhibit L at p.273.

       vi) Because Sedlik asserts that photographs of Lykoi cats were “scarce” in 2015, Sedlik

           applied a “scarcity multiplier” with a range of 3 to 5 times the Base Actual Damages

           to come up with a range for the fair market value to license the Photographs of from

           $18,636,647.50 to $31,061,079.10. Exhibit 5, Sedlik Rep. at pp.37-38.

Thus, Sedlik’s damages calculations rest on the licensing fees for the stock photographs he used

as the Benchmarks, which he selected from stock photography websites.

   D. Defendants retain Gary Elsner to offer rebuttal opinions.

       To rebut Sedlik’s testimony, Defendants retained Gary Elsner, a nearly 60-year veteran in

the photography industry. As will be discussed in greater detail below, and contrary to Plaintiff’s

assertions in the Motion, Mr. Elsner has significant experience in the valuation of a variety of

different types of photographs, not simply stock photographs.

       Mr. Elsner issued his report on September 18, 2020, a copy of which is attached hereto as

Exhibit 11. Mr. Elsner’s curriculum vitae is Exhibit 1 to his report. See id. at Exhibit 1. Plaintiff
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elected not to depose Mr. Elsner in this case. Thus, Plaintiff has no sworn testimony to challenge

his opinions.

                                      III.    ARGUMENT

       A. Plaintiff misunderstands the liberal standard for establishing the qualifications
          of an expert under Daubert.

       Where an expert’s qualifications are challenged, the test for exclusion is a strict one, and

the expert must have neither satisfactory knowledge, skill, experience, training nor education on

the issue for his opinions to be excluded. Kopf v. Skyrm, 993 F.2d 374, 377 (4th Cir. 1993). An

expert knowledgeable about a particular subject need not be precisely informed about all details

of the issues raised to offer an opinion. Id.; Whitfield v. Southern Md. Hosp., Inc., No. DKC 12-

2749, 2014 WL 923255, at *10 (D. Md. Mar. 7, 2014). An expert’s qualifications to render an

opinion are to be liberally judged under Rule 702. U.S. v. Bright, 789 Fed. Appx. 947, 950 (4th

Cir. 2019) (quoting Kopf, 993 F.2d at 377); see also, Victor Gold, Bases for Qualifying an

Expert, 29 FED. PRAC. & PROC. EVID. § 6264.1 (2d ed. 2021) (“… Rule 702 takes a liberal

approach to expert witness qualification.”). Because Rule 702 uses the disjunctive, a person may

be qualified to render expert testimony “in any one of the five ways listed: knowledge, skill,

experience, training, or education.” Kopf, 993 F.2d at 376.

       The Supreme Court did not intend for a court’s gatekeeper role to “supplant the adversary

system or the role of the jury.” Allison v. McGhan Med. Corp., 184 F.3d 1300, 1311 (11th Cir.

1999). “Vigorous cross-examination, presentation of contrary evidence, and careful instruction

on the burden of proof are the traditional and appropriate means of attacking shaky but

admissible evidence.” Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 596, 113 S. Ct.

2786, 2798, 125 L. Ed. 2d 469 (1993).




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       Moreover, a “lack of direct experience is not a sufficient basis to reject [a proposed

expert’s] testimony, but may affect the weight that testimony is given, a decision properly made

by the jury.” Martin v. Fleissner GMBH, 741 F.2d 61, 64 (4th Cir. 1984); Whitfield, 2014 WL

923255, at *10.

       The fit between an expert’s specialized knowledge and experience and the issues
       before the court need not be exact . . . Rule 702 does not ‘create[ ] a schematism
       that segregates expertise by type while mapping certain kinds of questions to
       certain kinds of experts ... the trial judge must have considerable leeway in
       deciding in a particular case how to go about determining whether particular
       expert testimony is reliable.’

Am. Strategic Ins. Co. v. Scope Serv., Inc., No. PX-15-2045, 2017 WL 4098722, at *3 (D. Md.

2017) (quoting Kumho Tire v. Carmichael, 526 U.S. 137, 151–52, 119 S. Ct. 1167, 1176, 143 L.

Ed. 2d 238 (1999)).

       Gaps in an expert witness’ qualifications or knowledge generally go to the weight of the

testimony and not its admissibility. Robinson v. GEICO Gen. Ins. Co., 447 F.3d 1096, 1100 (8th

Cir. 2006) (citing Charles Alan Wright & Victor J. Gold, 29 FED. PRAC. & PROC. EVID. § 6265

(1997)). “[S]o long as the expert is minimally qualified, objections to the level of the expert’s

expertise go to credibility and weight, not admissibility.” Johnson v. Carnival Corp., No. 19-CV-

23167, 2021 WL 1341527, at *2 (S.D. Fla. 2021) (internal quotations omitted). “Doubts

regarding the usefulness of an expert’s testimony should be resolved in favor of admissibility[.]”

American Dairy Queen Corp., v. W.B. Mason Co., Inc., No. 18-cv-693, 2021 WL 2382313, at

*15 (D. Minn. June 10, 2021) (citing U.S. v. Finch, 630 F.3d 1057, 1062 (8th Cir. 2011).

       A party’s expert need only possess “minimal qualifications” and is not required to be one

who could teach a graduate seminar on the subject. Burgett v. Troy-Bilt LLC, 579 F. App’x 372,

377 (6th Cir. 2014); see also Dilts v. United Grp. Servs., LLC, 500 F. App’x 440, 446 (6th Cir.

2012) (“An expert’s lack of experience in a particular subject matter does not render him

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unqualified so long as his general knowledge in the field can assist the trier of fact.”). Thus “an

expert witness is not strictly confined to his area of practice, but may testify concerning related

applications; a lack of specialization does not affect the admissibility of the opinion, but only its

weight.” Wheeler v. John Deere Co., 935 F.2d 1090, 1100 (10th Cir.1991).

       Without acknowledging the foregoing legal principles, Plaintiff relies on a number of

cases, all of which are factually distinguishable or support the admission of Mr. Elsner’s

testimony. In Baker v. Urban Outfitters, Inc., 254 F. Supp. 2d 346 (S.D.N.Y. 2003), the trial

court excluded the testimony of a proposed expert because the expert’s experience in licensing

the type of photographs at issue was “virtually non-existent.” Id. at 352-55. In Baker, the

plaintiff sued the defendant for infringing on the plaintiff’s copyright for a photograph that the

Plaintiff had previously taken. Id. at 349-50. The court concluded that the photograph at issue

was a stock photograph because it was an already existing photograph. Id. at 354. The proposed

expert had no experience with the valuation of existing photographs. Id. Rather, the expert’s

experience related solely to assignment photography, which is the creation of commissioned

photographs for a client. Id. The court noted that pricing for stock photography is based on a

completely different model than pricing for commissioned photography. Id. at 353-54. With

commissioned photography, there are variables that impact pricing, such as the daily rate for the

photographer, that do not exist for stock photography. Id.

       Additionally, during the proposed expert’s three-year career as a photographic agent, she

had licensed only one photograph and was unable to recall details of the transaction. Baker, 254

F. Supp. 2d at 354. The expert had also only purchased stock photography on three occasions

and had a very limited recollection of those transactions. Id. She was also not involved in the

pricing of those images. Id. Contrary to the expert in Baker, Mr. Elsner has nearly 60 years’



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experience negotiating, selling and purchasing license agreements for photographs, and valuing

photographs. Moreover, Mr. Elsner has exactly the type of experience that the court was looking

for in Baker that was lacking in the proffered expert.

       Similarly, in McDermott v. Advanstar Commc’ns, Inc., No. 1:98 CV 515, 2006 WL

8454324, (N.D. Ohio July 19, 2006), the plaintiff sued for copyright infringement involving

medical illustrations. Id. at *1-2. The proffered expert had more than 20 years of experience in

the photography industry but had no experience in the medical illustrations business. Id. at *2.

He had never dealt with pricing of medical illustrations and had no experience, education or

expertise relating to medical journals or medical illustrations. Thus, the court concluded that he

had no experience in the relevant industry. Id. In the case at bar, in which Plaintiff seeks

damages for copyright infringement for photographs, Mr. Elsner has more than 60 years’

experience in the photography industry, including determining the value of photography licenses

and photographs.

       In Penor v. Columbia Co., No. CV 08-1114-HU, 2010 WL 916211 (D. Or. Mar. 9, 2010),

the plaintiff sued the county for violating his Fourth Amendment rights by using excessive force

and by wrongly incarcerating him. Id. at *1. To support his claims, the plaintiff called an expert

on the reasonableness of police force. Id. This expert, however, had limited experience with

civilian law enforcement, most of which had occurred approximately 20 years before. Id. at *3.

Additionally, his remaining experience came from military law enforcement, which the court

found to be significantly different from civilian law enforcement. Id. Therefore, the court found

the expert unqualified to render opinions in the case. Id. at *1-*3.

       Similarly, in another case relied on by Plaintiff, Richmond Steel, Inc. v. Puerto Rican

American Ins. Co., 954 F.2d 19 (1st Cir. 1992), the court struck the trial testimony of a proffered



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expert who admitted on cross-examination that “it had been ten years since he last dealt with a

construction enterprise comparable in size, magnitude, and the number of projects” to those in

the pending case. Id. at 22. Unlike the experts in Penor and Richmond Steel, Mr. Elsner has been

continuously involved in the photography industry for approximately 60 years.

       Lastly, Plaintiff relies on Shreve v. Sears, Roebuck & Co., 166 F. Supp. 2d 378 (D. Md.

2001). In Shreve, the plaintiff offered a mechanical engineer to testify to design defects in a snow

thrower. Id. at 389. However, the engineer had no professional experience in the design,

manufacture, operation, or safety of outdoor power equipment, including snow throwers. Id. at

393. Other than in three litigation matters, the engineer had never touched a snow thrower. Id.

Therefore, the court excluded the expert. Id. at 424. In contrast to the expert in Shreve, Mr.

Elsner has been directly involved in the valuation of photography licenses and photographs for

nearly 60 years.

   B. The Photographs are stock photographs.

       Beyond its misunderstanding of the applicable legal standard, Plaintiff incorrectly states

that the Photographs are not stock photographs. Plaintiff’s expert, Mr. Sedlik, is the President

and CEO of the Plus Coalition, a nonprofit that has created standards and guidelines for the

communication of image rights. Exhibit 3, Sedlik Dep. at 25:20-26:23, 38:11-13. As part of its

work, the Plus Coalition has developed a set of definitions, named the Plus Glossary, for words

commonly used when licensing photographs. Id. at 56:14-59:22. According to the Plus Glossary,

a stock photograph is “An image that is available for licensing.” Exhibit 12, PLUS PICTURE

LICENSING GLOSSARY, https://www.useplus.com/useplus/glossary_term.asp?tmid=16380000

(last visited Aug. 26, 2021). Similarly, “stock photography” has been defined as “the business of

licensing images that were previously shot and are, therefore ‘in stock.’” Exhibit 13, Betsy Reid,



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PRACTICES AND PHOTOGRAPHY 145 (7th ed., 2008).

       Baker, relied on by Plaintiff, also notes that “’in stock photography we are selling

(licensing) rights to reproduce an already existing photograph.’” Baker, 254 F. Supp. 2d at 354

(quoting Michael Heron & David McTavish, PRICING PHOTOGRAPHY 7 (rev. ed. 1997)). The

photograph at issue in Baker was previously taken by the photographer and then licensed to

others. Baker 254 F. Supp. 2d at 349. Thus, the court concluded that the photograph was a stock

photograph. Id. at 353-54.

       Ms. Gobble created the Photographs between 2014 and 2015. See Compl. at ¶37 (ECF

134). After creating them, she licensed the Photographs through REX and directly to various

news organizations, websites, and bloggers. Exhibit 2, Pl.’s 30(b)(6) Dep. at 123:4-18. The

Photographs were previously shot by Ms. Gobble and then made available for licensing. The

Photographs were not created pursuant to an assignment from a customer and licensed as part of

that transaction. Thus, just like the photograph in Baker, and consistent with the definition of

“stock photograph” from the Plus Glossary, the Photographs are stock photographs.

       Reinforcing the fact that the Photographs are stock photographs, Ms. Gobble licensed the

Photographs through REX, a stock photography agency. Id. Thus, there is an actual licensing

history for Ms. Gobble’s photography being sold as stock photographs.

       Although Plaintiff incorrectly states that Mr. Elsner has no experience valuing

photographs other than stock photographs, Plaintiff concedes in the Motion that Mr. Elsner has

extensive experience valuing stock photographs. Motion at p.6 (ECF 166). Therefore, because

the Photographs are stock photographs, Mr. Elsner is qualified to render opinions as to their

value. For this reason alone, this Court should deny the Motion.



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    C. Plaintiff’s expert based his damages calculations on stock photographs.

        Plaintiff’s assertion that Mr. Elsner is not qualified to render opinions in this case is

surprising, particularly because Plaintiff’s own expert relied on the license fees of stock

photographs to determine Plaintiff’s damages. As his first step, Mr. Sedlik identified three stock

photographs from stock photography websites that he used as Benchmarks. See Exhibit 4, Sedlik

Rep., Exhibit H; Exhibit 1, Sedlik Report at p.34. Mr. Sedlik then determined the licensing fees

offered by the stock photography websites for the Benchmarks. See Exhibit 6, Sedlik Report,

Exhibit J. Thus, Sedlik used the licensing fees for stock photographs to begin his calculations.

        It is absurd for Plaintiff to use stock photography fees to calculate its own damages, yet

claim in the Motion that stock photographs have nothing to do with the issues in this case.

Therefore, as Plaintiff concedes, Mr. Elsner is well-qualified to opine on the value of stock

photographs, and this Court should deny the Motion.

    D. Mr. Elsner has extensive experience valuing a variety of types of photographs.

        Mr. Elsner has extensive experience negotiating, selling and purchasing photography

licenses, dating back to 1963. He has valued licenses for commercial photography, including

assignment and stock photography. His experience is detailed in his CV, a copy of which is

attached to his report as Exhibit 1, as well as on pages 5 through 11 of his report. See Exhibit 11,

Elsner Rep. at Exhibit 1. Mr. Elsner’s extensive experience qualifies him to render opinions in

this case.

        Mr. Elsner has been negotiating photography licenses throughout his career, going back

to the 1960’s. In fact, his entire career has involved the negotiation, sale and purchase of

photography licenses. He is a member of the American Society of Picture Professionals and the

Digital Media Licensing Association. Id. Mr. Elsner has also testified as an expert in court on the

value of photography licenses and photographs. Id.

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        Plaintiff cherry picks portions of Mr. Elsner’s deposition from the D’Pergo case to

support its argument that Mr. Elsner has no experience valuing photographs that are not stock

photographs. Motion at pp.4-5 (ECF 166). 2 However, Plaintiff ignores other portions of Mr.

Elsner’s deposition testimony. For example, Mr. Elsner testified during his deposition that he has

provided valuations to “insurance companies dealing with catastrophic losses of commercial

photography.” Exhibit 14, Elsner D’Pergo Dep. at 22:22-24. Mr. Elsner also testified that he has

provided expert assistance to attorneys involved in matters concerning commercial photography.

Id. at 23:7-10. Additionally, when asked during his deposition, “the work that you were doing

under Gary Elsner Associates, that was all under the subcategory of stock photography; is that

correct?” Mr. Elsner answered, “No.” Id. at 26:1-4. Moreover, Mr. Elsner testified that he has

advised photographers in the course of the photographers being commissioned to create specific

works. Id. at 34:8-12. Mr. Elsner also testified that since 2000, Mr. Elsner has advised

photographers who have been engaged in commercial, commissioned photography. Id. at 35:5-8.

Lastly, Mr. Elsner testified that he has been engaged as the testifying expert more than 100 times

in the last 10 years. Id. at 42:13-16.

        Moreover, Plaintiff mischaracterizes Mr. Elsner’s deposition testimony. Mr. Elsner did

not say that he had not performed work outside of the stock photography context. Rather, Mr.

Elsner said that he could not recall specific assignments at that time; he did not say that he had

not been involved in them. Id. at 29:5-15.

        In reality, Mr. Elsner has extensive experience valuing photographs in a wide variety of

contexts, including, but not limited to, the following matters during the last 10 years:




2
 Defendant does not concede that Mr. Elsner’s deposition testimony from the D’Pergo case is
admissible, as argued infra in Section III(E).
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          i.    Mr. Elsner was retained to establish the value of the entire digital archive of a
                photographer’s work that was destroyed. He was permitted by a trial court to offer
                opinion testimony as to the valuation.
          ii.   Mr. Elsner was retained by Skechers to provide opinions on the value of
                assignment photographs made for Skechers in a copyright infringement case in
                which the plaintiff claimed that Skechers’ use of the images extended beyond the
                licenses granted.
          iii. Mr. Elsner provided an opinion on the value of a large set of images belonging to
               a commercial photographer that were lost in a fire.
          iv. Mr. Elsner provided an opinion on the value of a commercial photographer’s
              images that were lost in a flood of the photographer’s home.
          v.    Mr. Elsner provided services regarding the value of fine art photographs that were
                lost when the photographer left the photographs in a hotel.
          vi. Mr. Elsner was retained by a photographer to value the photographer’s collection
              of medical photographs of cells and similar subjects and then represent the
              photographer in the sale of the collection.
          vii. Mr. Elsner was hired by a magazine to negotiate supplemental licenses with
               photographers for licensed images that had appeared in the magazine as far back
               as 1995, to secure additional use rights for the images and to cover the re-issue of
               all prior publications in digital format.
          viii. Mr. Elsner provided valuation opinions of photographs of new car models.
          ix. Mr. Elsner provided opinions on the value of assignment photographs in a
              copyright infringement case in which the plaintiff claimed that the use of the
              images extended beyond the licenses granted.
          x.    Mr. Elsner was hired to value a set of over 600 commercial photographs, valued at
                approximately $1,800,000, that were destroyed in a fire. Many of these photographs
                had been created as assignment photographs.
          xi. Mr. Elsner provided valuation opinions in a copyright infringement matter where
              the defendant was alleged to have wrongly used numerous commercial photographs
              created under an assignment from the defendant.
          xii. Mr. Elsner was retained in a copyright infringement matter involving commercial
               photographs of high-end celebrities, such as Leonardo DiCaprio and Cindy
               Crawford. The photographs had been created pursuant to assignments from various
               clients of the photographer.
Exhibit 15, Elsner Declaration, pp. 2-3.




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       These examples demonstrate the breadth of Mr. Elsner’s experience valuing photographs

and photograph licenses in a variety of contexts. Beyond that, Mr. Elsner’s report includes

approximately five pages of narrative describing his extensive experience in the photography

industry, going back to 1963. Exhibit 11, Elsner Rep. at pp.5-11. Throughout his career, Mr.

Elsner has had significant experience negotiating, selling and purchasing photographs and

licenses for photographs. Mr. Elsner has also been recognized as an expert in matters involving

commercial photography in numerous jurisdictions, including California, Louisiana, Minnesota,

Montana, and New York. Id. at p. 11.

       In addition to arguing that Mr. Elsner does not have experience outside of the stock

photography realm, Plaintiff also asserts that Mr. Elsner is not qualified to testify that the

multiplier used by Mr. Sedlik is not an appropriate method for determining the value of the

Photographs in this case. Motion, pp.6-8 (ECF 166). To support this assertion, Plaintiff argues

that Mr. Elsner’s knowledge of multipliers is based on case law from over 15 years ago, Id. at

p.7, without offering any factual support for this assertion. Mr. Elsner has never testified to this,

and the assertion is inaccurate.

       In deposition in the D’Pergo case, counsel asked Mr. Elsner, “are you aware that many

courts accept multipliers that are used to determine fair market value when it is not used as a

penalty?” Mr. Elsner answered after an objection, “No.” Exhibit 14, Elsner D’Pergo Dep. at

66:5-9. Beyond the fact that the question is objectionable for a number of reasons, the word

“many” is vague and can mean different things to different people. This colloquy certainly does

not support Plaintiff’s assertion. Moreover, although there are a handful of trial court decisions

and one appellate opinion that admitted Mr. Sedlik’s testimony regarding multipliers, Mr. Sedlik

was not properly challenged in those cases. See Defs.’ Memo. of Law in Support of Defs.’



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Daubert Mot. to Exclude Opinion Testimony of Pl.’s Expert-Jeffrey Sedlik at pp.20-22 (ECF

163).

        Additionally, several of the cases involved default judgments where there was no party to

oppose the plaintiff’s damages presentation. See Brittney Gobble Photography, LLC v. WENN

LTD., No. 3:16-CV-306-HSM-DCP, 2019 WL 2446997, at *1 (E.D. Tenn. Feb. 19, 2019);

Reiffer v. Legendary Journeys, Inc., No. 8:17-cv-2748-T-35AAS, 2019 WL 2029973, at *1

(M.D. Fla. April 10, 2019). The existence of these opinions does not mean that Mr. Elsner is not

qualified to opine on whether multipliers are an appropriate method to determine damages in this

case.

        To the contrary, Mr. Elsner correctly testified to the legal standard for determining how

actual damages should be calculated. When asked whether he had “any understanding about the

use of multipliers not involving a penalty,” Mr. Elsner testified that:

        [M]y understanding is that, under copyright law, when you’re defining the damages
        and you’re looking for fair market value, we’re back again to the discussion that
        fair market value is defined as to what a willing buyer and a willing seller can agree
        on regarding the use of an image.

        And that does not include in any way, shape or form multipliers that I am aware of.

Exhibit 14, Elsner D’Pergo Depo at 263:4-15. Mr. Elsner then explained why he believed Mr.

Sedlik’s use of a multiplier was an inappropriate method for determining the damages in this

case. Id. at 263, et seq. Mr. Elsner is not required to accept Mr. Sedlik’s assertion that a

multiplier is an appropriate method for determining fair market value. Nor is this Court.

        Mr. Elsner has nearly 60 years’ experience negotiating, selling and purchasing

photography licenses. Necessarily, Mr. Elsner must understand how to properly value

photography licenses, including whether a multiplier is an appropriate way to value a

photography license.

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       Plaintiff’s arguments to exclude Mr. Elsner’s opinions reflect its misunderstanding of the

legal standard required to establish an expert’s qualifications to render opinion testimony. An

expert’s experience is to be liberally judged. Bright, 789 Fed. App’x. at 950. Although

Defendants suggest that Mr. Elsner is well-qualified to do so, Daubert does not require Mr.

Elsner to be capable of teaching a graduate seminar on photography licensing. See Burgett, 579

F. App’x at 377. To the contrary, he must only be minimally qualified to render opinion

testimony in this case. See Johnson, 2021 WL 1341527, at *2. If Plaintiff believes there are gaps

in Mr. Elsner’s experience, Plaintiff is entitled to cross-examine Mr. Elsner at trial about those

gaps. Robinson, 447 F.3d at 1100. However, this Court’s gatekeeper role is not intended to usurp

the role of the jury, as urged by Plaintiff. See Allison, 184 F.3d at 1311.

    E. Mr. Elsner’s deposition testimony from the D’Pergo case is inadmissible hearsay
       and cannot be considered when deciding Plaintiff’s Motion. 3

       Plaintiff’s Motion relies solely on the deposition testimony of Mr. Elsner in the D’Pergo

case. However, Mr. Elsner’s testimony in that case constitutes hearsay in this case and is,

therefore, inadmissible.

       A statement is hearsay when it is not made while testifying at the current trial or hearing,

and the proponent of the statement offers it to prove the truth of the matter asserted in the

statement. Fed. R. Evid. 801(c). Hearsay is inadmissible unless permitted by a federal statute, the

Federal Rules of Evidence or other rule prescribed by the Supreme Court. Fed. R. Evid. 802.




3
 Plaintiff’s counsel, representing the plaintiff in the New Hampshire case, filed a nearly identical
motion to exclude Mr. Elsner’s testimony in that case, see Memo. of Points and Authorities in
Support of Pl. D’Pergo Custom Guitars, Inc.’s Mot. to Strike Portions of the July 15, 2020 Rep.
of G. Elsner, D’Pergo Custom Guitars, Inc. v. Sweetwater Sound, Inc., No. 1:17-CV-000747-LM
(D.N.H. 2020) (No. 183-1), which was denied via an endorsed paperless order by the United
States District Court judge on December 17, 2020.
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       The deposition testimony of Mr. Elsner in the D’Pergo case is hearsay. It contains

statements from another case offered to prove the truth of the matter asserted. Therefore, it is

inadmissible in this proceeding, unless permitted by federal statute or other rule. Because there is

no applicable statute that permits its admission in this case, Plaintiff’s only possible recourse to

admit the testimony is the Federal Rules of Civil Procedure. However, there is no rule of civil

procedure that allows its admission into evidence.

       Pursuant to Federal Rule of Civil Procedure 32, a deposition may be used at a hearing or

trial when:

       (A) the party against whom the deposition is offered was present or represented at the

              taking of the deposition or had reasonable notice of it;

       (B) [the deposition] is used to the extent it would be admissible under the Federal Rules

              of Evidence if the deponent were present and testifying; and

       (C) the use is allowed by Rule 32(a)(2) through (8).

See Fed. R. Civ. P. 32(a)(1). Defendants were not present or represented at the taking of Mr.

Elsner’s deposition and did not have a reasonable notice of it. For this reason alone, Mr. Elsner’s

deposition testimony is inadmissible in this case. Additionally, none of the provisions contained

in Rule 32(a)(2) through (8) apply here.

       Rule 32(a)(2) is not applicable because Plaintiff uses Mr. Elsner’s deposition testimony

as substantive evidence, not impeachment evidence. Rule 32(a)(3) is inapplicable because Mr.

Elsner is not a party, agent or designee of Defendants. Rule 32(a)(4) does not apply because Mr.

Elsner is available as a witness in this case. The circumstances contained in Rules 32(a)(5)

through (7) are not present here, so those rules do not apply. Finally, Mr. Elsner’s deposition

testimony is not admissible under Rule 32(a)(8) because the D’Pergo case did not involve the



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same subject matter, between the same parties or their representatives or successors in interest.

Therefore, Mr. Elsner’s deposition testimony is not admissible under Rule 32.

       Without Mr. Elsner’s deposition testimony from the D’Pergo case, Plaintiff has no

admissible evidence to support its Motion. For this reason alone, this Court should deny the

Motion.

                                      IV.     CONCLUSION

       Plaintiff has failed to satisfy the strict test for excluding Mr. Elsner. If Plaintiff believes

there are gaps in Mr. Elsner’s qualifications, Plaintiff is entitled to cross-examine Mr. Elsner

about those gaps at trial. Ultimately, it is the role of the jury to decide whether to accept Mr.

Elsner’s testimony, rather than the role of the Court based on this record.

       WHEREFORE, Defendants, Sinclair Broadcast Group, Inc., et al., request that this Court

enter an order denying Plaintiff, Brittney Gobble Photography, LLC’s Motion to Exclude

Defendants’ Proposed Expert, Gary Elsner, and granting such other and further relief as this

Court deems just, equitable and proper.



Dated: August 27, 2021

                                               Respectfully submitted,


                                               /S/ Scott H. Marder
                                               Scott H. Marder (Bar No. 28789)
                                               shmarder@tandllaw.com
                                               Margaret L. Argent (Bar No. 06132)
                                               margent@tandllaw.com
                                               THOMAS & LIBOWITZ, P.A.
                                               25 S. Charles Street, Suite 2015
                                               Baltimore, Maryland 21201
                                               Telephone: (410) 752-2468
                                               Facsimile: (410) 752-0979


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                                               Attorneys for Defendants

                                  CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 27th day of August, 2021, a copy of the foregoing

Defendants’ Memorandum of Law in Opposition to Plaintiff Brittney Gobble Photography, LLC’s

Motion to Exclude Defendants’ Proposed Expert, Gary Elsner was filed electronically. Notice of

the filing will be sent to all parties who have appeared by operation of the Court’s electronic filing

system. Parties may access this filing through the Court’s system.

       I FURTHER HEREBY CERTIFY, that on the 30th day of August, 2021, I will cause a

copy of the foregoing Defendants’ Memorandum of Law in Opposition to Plaintiff Brittney Gobble

Photography, LLC’s Motion to Exclude Defendants’ Proposed Expert, Gary Elsner to be served

as follows on Third-Party Defendant USA Entertainment News, Inc.:


 Via First Class U.S. Mail, Postage Prepaid         Via First Class Airmail, Postage Prepaid

 USA Entertainment News, Inc.                       USA Entertainment News, Inc.
 c/o Frankfurt Kurnit Klein & Selz, P.C.            c/o Lloyd Beiny, Registered Agent
 488 Madison Avenue, 10th Floor                     4A Tileyard Studios
 New York, NY 10022                                 Tileyard Road
 Attn: Mike Dolan                                   London N7 9AH
                                                    UNITED KINGDOM




                                                       /s/
                                                      Margaret L. Argent




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